Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 1 of 11 PagelD# 6013

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

 

OSI SYSTEMS, INC.,

Plaintiff,
Vv. Civil Case No. 1:20-cv-01577
KM-LOGIX, LLC, MAROS KMEC,
LINDA KMEC, and ALIONA BEJENUTA
Defendants.

Net ee ee ee ee ee

 

MEMORANDUM OPINION

 

THIS MATTER comes before the Court on Defendants KM-Logix,
LLC, Maros Kmec, and Linda Kmec’s Motion for Summary Judgment
and Defendant Aliona Bejenuta’s Motion for Summary Judgment.

Plaintiff, OSI Systems, Inc. (“OSI”) brought this federal
trade secrets case against KM-Logix, LLC, its owner Maros Kmec,
and his wife Linda Kmec (“the Kmec Defendants”) alleging
Defendants misappropriated trade secrets to create a copycat
website of OSI’s in-house analytics tool, the FAR Compliance
Portal (“the Portal”). OSI further alleges Aliona Bejenuta, a
former employee of OSI, disclosed OSI trade secrets to the
Kmecs, enabling Mr. Kmec to build his website, FARclause.com.

OSI is a California based company that develops security
and inspection systems, often contracting with the federal

government. Defendant Maros Kmec is the sole owner, manager, and
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 2 of 11 PagelD# 6014

employee of KM-Logix, LLC, a Virginia limited liability company.
Both Kmec Defendants have experience managing government
contracts, but Ms. Kmec plays no role in KM-Logix. KM-Logix
operates FARclause.com, a website created by Mr. Kmec that OSI
claims is a copycat version of OSI‘s the Portal.

Both KM-Logix’s FARclause.com and OSI's Portal track
compliance with the Federal Acquisition Regulations (“FAR
Clauses”; codified at 48 C.F.R. Chaps. 1-53 and 99). FAR Clauses
provide the primary rules governing the Federal Government’s
procurement of goods and services including the standardized
contract provisions which government contracting officers must
include in federal contracts.

OSI released the Portal as an internal tool within the
company in 2014 to coordinate and track compliance with FAR
Clauses and other government regulations. OSI revised and
completed the latest version of the Portal in the fall of 2019.
The Portal is currently only available internally within OSI.
Defendant Bejenuta began working for OSI as a senior contracts
manager on July 5, 2016. During Ms. Bejenuta’s employment, OSI
recruited her to test an updated version of the Portal. Her
employment ended on April 24, 2020 once OSI suspected Ms.
Bejenuta of misappropriating its trade secrets.

Mr. Kmec claims he began work on FARclause.com in the

summer of 2015. Mr. Kmec made his website publicly available in
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 3 of 11 PagelD# 6015

November 2017 as Just-clause.com, eventually improving the
application and changing the domain name to FARclause.com.
FARclause.com is an analytical tool that allows government
contracting officers to extract and organize FAR clauses from
public contracts and solicitations.

In January 2020, OSI discovered FARclause.com while
surveying potential competitors. OSI became concerned that
FARclause.com shared numerous similarities with its Portal. OSI
assumed that an OSI employee with access to the Portal shared
information about the Portal with someone involved with creating
FARclause.com. OSI suspected former employee Ms. Bejenuta
because of her time testing the latest version of the Portal.
OSI claims a relationship existed between the Kmec Defendants
and Ms. Bejenuta.

On March 2, 2020, OSI filed a lawsuit against the Kmec
Defendants in the Central District of California alleging
misappropriation of trade secrets. The Kmec Defendants moved to
dismiss the California lawsuit on the grounds that OSI failed to
allege sufficient plausible facts, and that the court lacked
personal jurisdiction over the Kmec Defendants. On August 31,
2020, the case was dismissed for lack of personal jurisdiction.
OSI filed this action before this Court against the Kmec
Defendants, adding Ms. Bejenuta as a co-defendant. This current

action alleges the Kmecs and Ms. Bejenuta “shared information
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 4 of 11 PagelD# 6016

and apparently obtained unauthorized access to OSI’s Portal for
the purpose of developing a copycat product.” OSI seeks relief
from all Defendants under the Defend Trade Secrets Act (“DTSA”,
18 U.S.C. § 1836(b)), Virginia’s Uniform Trade Secrets Act
(“VUTSA”, Va. Code § 59.1-336), the equitable remedy of unjust
enrichment, and the common-law tort of conversion. OSI also
seeks relief from Ms. Bejenuta claiming a breach of contract for
allegedly disclosing trade secrets and inadvertently filing her
Rule 26(a) (1) disclosure in violation of the protective order in
this case. The inadvertent filing was a clerical error fixed
within a couple of days by Ms. Bejenuta.

Ms. Bejenuta filed her Motion for Summary Judgment on
August 13, 2021 and Defendants KM-Logix, LLC and the Kmec
Defendants also filed a Motion for Summary Judgment on August
16, 2021. OSI responded in opposition to both motions. The Court
finds there are no material facts in dispute and that this case
is ripe for summary judgment.

Under Federal Rule of Civil Procedure 56, a court should grant
summary judgment if the pleadings and evidence show that there is
no genuine dispute as to any material fact and that the moving
party is entitled to judgment as a matter of law. Fed. R. Civ. P.
56(c); see Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). In
reviewing a motion for summary judgment, the court views the facts

in the light most favorable to the non-moving party. See Anderson

4
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 5 of 11 PagelD# 6017

v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Once a motion
for summary judgment is properly made, the opposing party has the
burden to show that a genuine dispute of material fact exists. See
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
586-87 (1986).

In this case, OSI’s claim under the DTSA and VUTSA alleges
that Ms. Bejenuta directly or indirectly misappropriated trade
secrets to the Kmec Defendants; and the Kmec Defendants
misappropriated OSI trade secrets in creating FARclause.com.
However, OSI fails to present sufficient evidence to support
these allegations. Similarly, OSI’‘s common law claim of
conversion and equitable claim of unjust enrichment fail because
the trade secret statutes preempt both claims. As for the
additional breach of contract count alleged against Ms.

Bejenuta, OSI failed to show Ms. Bejenuta disclosed any
information to the Kmec Defendants or that any third-party
disclosure occurred due to Ms. Bejenuta inadvertently filing her
Rule 26(a) (1) motion.

To obtain relief under the DTSA and VUTSA,: plaintiff must
show that: “(1) it owns a trade secret; (2) the trade secret was

misappropriated; and (3) the trade secret implicates interstate

 

'With the exception of element 3, which is not at issue in this case,
the elements of a cause of action under the VUTSA are “nearly
identical” to the federal DTSA. See OROS, Inc. v. Dajani, No. 1:19-CV-
351, 2019 WL 2361047 (E.D. Va. 2019).

5
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 6 of 11 PagelD# 6018

or foreign commerce.” See Space Sys./Loral, LLC v. Orbital ATK,
Inc., 306 F. Supp. 3d 845, 853 (E.D. Va. 2018). Trade secret
claims survive summary judgment only if supported by actual
objective evidence, not mere inferences. See Othentec, Ltd. v.
Phelan, 526 F.3d 35, 142 (4th Cir. 2008). OSI’s misappropriation
theories are speculative and lack any objective proof to survive
summary judgment.

There is no evidence Defendants directly or indirectly
misappropriated OSI trade secrets. The Supreme Court’s decision
in Kewanee Oil Co. v. Bicron Corp. held that for claims brought
under the DTSA and VUTSA, misappropriation of a trade secret can
occur either directly by someone entrusted with the secret, or
indirectly through tortious or “improper means”:

“The protection accorded the trade secret holder is against

the disclosure or unauthorized use of the trade secret by

those to whom the secret has been confided under the
express or implied restriction of nondisclosure or nonuse.

The law also protects the holder of a trade secret against

disclosure or use when the knowledge is gained, not by the

owner's volition, but by some ‘improper means,’ Restatement
of Torts s 757(a), which may include theft, wiretapping, or
even aerial reconnaissance.”
Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 475-76 (1974).
Plaintiff must show that Defendants obtained trade secrets

either directly from a trade secrets source or indirectly

through improper means.? OSI’s trade secret claims fail because

 

?The DTSA defines improper means as “theft, bribery, misrepresentation,
breach or inducement of a breach of a duty to maintain secrecy.” 18
U.S.C. § 1839 (6) (A).
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 7 of 11 PagelD# 6019

not only has OSI failed to present evidence that Defendants
directly shared specific OSI trade secrets, but OSI also failed
to demonstrate that Defendants acquired trade secrets through
improper means.

OSI's claim fails without proof that Ms. Bejenuta shared
trade secrets with the Kmec Defendants. While circumstantial
evidence is often necessary in trade secrets cases, Rule 56 of
the Federal Rules of Civil Procedure and the Due Process Clause
place a limit on which inferences can be drawn from
circumstantial evidence. A trade secrets theft case fails when a
plaintiff cannot demonstrate a chronological, plausible
explanation for its allegations. See Trident Perfusion Assocs.,
Inc. v. Lesnoff, 121 F.3d 700 (4th Cir. 1997). Mere speculation
that Ms. Bejenuta and the Kmec Defendants conspired to use OSI
trade secrets is not enough to sustain OSI’s direct
misappropriation claim. The claim lacks proof demonstrating a
relationship, or at minimum, a sufficient connection between Ms.
Bejenuta and the Kmec Defendants. The first and only evidence of
communication between Ms. Bejenuta and the Kmec Defendants is a
brief meeting at a child’s birthday party in 2019. There is no
further proof that the Portal was discussed during this
encounter. Moreover, FARclause.com was running fifteen months

prior to the birthday party.
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 8 of 11 PagelD# 6020

OSI also fails to present proof of any indirect
misappropriation by the Defendants. OSI does not allege that the
Kmec Defendants indirectly misappropriated by “theft,
wiretapping, or even aerial reconnaissance.” See Kewanee Oil,
416 U.S. 475-76. Rather, OSI claims the Kmec Defendants acquired
OSI trade secrets because Ms. Bejenuta admitted to sharing
information about the Portal with non-OSI employees ata
government contracting conference. However, there is no evidence
that the Kmec Defendants were the non-OSI employees who received
information about the Portal from Ms. Bejenuta, or that
information shared with conference attendees trickled down to
the Kmec Defendants.

Finally, OSI fails to demonstrate its theory that the
similarities between the Portal and FARclause.com could only
have occurred through Defendants misappropriating OSI trade
secrets. OSI essentially argues a theory of res ipsa loquitur
based on what OSI considers to be “striking similarities”
between the Portal and FARclause.com. Because there are numerous
differences between the Portal and FARclause.com as conceded by
OSI, the similarities argument falls short of demonstrating
misappropriation.

Moreover, OSI's argument that the similarities between the
Portal and FARcClause.com proves misappropriation fails without

further proof that the alleged similarities resulted from
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 9 of 11 PagelD# 6021

copying specifically identified trade secrets. A plaintiff must
name, with particularity, each trade secret it claims was
Misappropriated. See MicroStrategy Inc. v. Bus. Objects, S.A.,
331 F. Supp. 2d 396, 418 (E.D. Va. 2004). The DTSA and VUTSA
define trade secrets as being economically valuable to the owner
and neither “generally known to” nor “readily ascertainable
through proper means by” another person who could obtain
economic value from the trade secret. See 18 U.S.C. § 1839(3);
Va. Code § 59.1-336); see also MicroStrategy, 331 F. Supp. 2d
416. OSI alleges the Portal and FARclause.com share similar data
structures and a variety of user interface elements but does not
present any evidence that these structures and elements were not
readily ascertainable through proper means. The Portal’s
compliance-tracking concepts were well-known in the government
contracting business. Moreover, since both OSI and KM-Logix deal
with government contracts and FAR Clauses, some similarities are
inevitable. Thus, if the similarities between the two websites
are not based on trade secrets, the misappropriation claim
cannot survive summary judgment.

Beyond the similarities and differences between the two
websites, Defendant KM-Logix presented sufficient evidence that
Mr. Kmec independently developed FARclause.com. Under the DTSA,
work independently derived is not misappropriation of trade

secrets by “improper means.” 18 U.S.C. § 1839(6) (B). Defendants
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 10 of 11 PagelD# 6022

offered proof of Mr. Kmec independently developing FARclause.com
in August 2015 and of his progress at various stages in
FARClause.com’s development. OSI did not present substantial
evidence to rebut Mr. Kmec’s claim of independent development.

As for OSI’s conversion and unjust enrichment claims, the
VUTSA preempts both claims. The VUTSA states that it “displaces
conflicting tort, restitutionary, and other laws of this
Commonwealth providing civil remedies for misappropriation of a
trade secret.” Va. Code § 59.1-341. Where a plaintiff’s common
law and equitable claims are predicated entirely on the
misappropriation of trade secrets, the VUTSA preempts them. See
Space, 306 F.Supp. 3d 845. OSI’s counts of unjust enrichment and
conversion mirror its violation of the VUTSA count by alleging
the same facts, and thus cannot survive preemption.

OSI lacks sufficient evidence to sustain its claims of
unjust enrichment and conversion. OSI has not demonstrated
circumstances where the Kmecs were required to compensate OSI,
or that Kmec Defendants received a benefit from OSI sufficient
to sustain an unjust enrichment claim. OSI has also not shown
that the Kmec Defendants exercised authority or asserted
dominion over OSI property sufficient to sustain a conversion
claim. Therefore, even if the unjust enrichment and conversion
counts survive preemption, OSI lacks evidence to prove the

elements of these counts.

10
Case 1:20-cv-01577-CMH-IDD Document 307 Filed 12/17/21 Page 11 of 11 PagelD# 6023

Finally, there is insufficient proof that Ms. Bejenuta
breached her OSI employment contract. OSI claims breach based on:
1) Ms. Bejenuta allegedly disclosing trade secrets to the Kmec
Defendants; and 2) Ms. Bejenuta inadvertently filing her Rule
26{a) (1) disclosure in violation of the Protective Order. OSI fails
to prove sufficient facts or damages for either allegation. There
is no proof Ms. Bejenuta’s Rule 26(a)(1) disclosure caused any
third-party disclosure or damages to OSI before the pleading was
removed from the docket. Moreover, OSI cannot impose respondeat
superior liability in this case as respondeat superior liability
does not apply to attorneys acting on behalf of clients. See
William A. Gregory, The Law of Agency and Partnership § 52 at 118
(3rd ed. 2001). Thus, OSI’s claim of breach of contract is not
sustained by Ms. Bejenuta’s inadvertent filing.

For the foregoing reasons, the Court finds both Defendants
KM-Logix, LLC, Maros Kmec, and Linda Kmec’s Motion for Summary
Judgment and Defendant Aliona Bejenuta’s Motion for Summary

Judgment should be granted.

“
L—__ DAL Hate
CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE
Alexandria, Virginia
Novembex——_——_ 2621

Dee, ‘7, 202)

11
